         Case 1:22-cr-00056-SWS Document 38 Filed 08/19/22 Page 1 of 5




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                              UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,
                                                 Case No. 1:22-cr-00056-DCN
               Plaintiff,

               vs.                               GOVERNMENT’S MOTION TO
                                                 EXCLUDE VICTIM’S CRIMINAL
                                                 HISTORY
 JOSEPH ALAN HOADLEY,

               Defendant.



       The government anticipates that the defense may attempt to introduce into evidence

specific facts of the domestic violence incident for which the victim in this case, B.H., has

recently pleaded guilty. The United States of America, by and through the undersigned

attorneys, respectfully submits that such evidence has no relevance to the charged offense

and would invite jury nullification by distracting the jury’s attention from the charged

incident. The United States therefore respectfully requests that this Court issue an order in

limine prohibiting the introduction of such evidence.




GOVERNMENT’S MOTION TO EXCLUDE VICTIM’S CRIMINAL HISTORY—1
         Case 1:22-cr-00056-SWS Document 38 Filed 08/19/22 Page 2 of 5




                                       BACKGROUND

       On March 30, 2017, four Caldwell City Police Department (“CPD”) Officers,

including Defendant Joseph Alan Hoadley (then a lieutenant), responded to a 911 call from

the Caldwell City home of B.H. from which the call had been disconnected. Eventually,

Defendant Hoadley detained and handcuffed B.H. While escorting B.H. outside, Hoadley

punched B.H. in the head after the two exchanged verbal jabs.

       Five years later, B.H. was arrested and ultimately pleaded guilty to a domestic

battery charge for which he was sentenced to probation. The charges stemmed from a

dispute with his girlfriend that occurred in 2021.

                                         ARGUMENT

       At trial, the United States anticipates that defendants may attempt to introduce

evidence of B.H.’s domestic violence conviction in 2022. The United States respectfully

submits that such evidence, to the extent it was unknown to defendant at the time of the

actions for which his is charged (namely, assaulting B.H. in 2017), is irrelevant, and

therefore inadmissible under Federal Rules of Evidence 401 and 402.

       The Federal Rules of Evidence provide that evidence may only be admitted in a

federal trial if it is relevant, meaning that it has any tendency to make a fact that is of

consequence in the action more or less probable. Irrelevant evidence is inadmissible. Fed. R.

Evid. 401, 402. The Ninth Circuit has read the requirement that evidence be relevant to

impose limitations on what evidence may be admitted for the purpose of determining

whether a law enforcement officer’s use of force during an arrest violates the Fourth

Amendment’s prohibition on unreasonable seizures as articulated in Graham v. Connor, 490

U.S. 386 (1989).



GOVERNMENT’S MOTION TO EXCLUDE VICTIM’S CRIMINAL HISTORY—2
         Case 1:22-cr-00056-SWS Document 38 Filed 08/19/22 Page 3 of 5




       In Graham, the Supreme Court held that, in the context of evaluating law

enforcement use of force under the Fourth Amendment, “the ‘reasonableness’ inquiry in an

excessive force case is an objective one: the question is whether the officers’ actions are

“objectively reasonable” in light of the facts and circumstances confronting them. Id. at 397.

Since Graham, the Ninth Circuit has, on multiple occasions, made clear that the

“circumstances” to which the Graham court referred must mean only those circumstances

known and information available to the officer at the time of his action. See, e.g., Hayes v.

Cnty. of San Diego, 736 F.3d 1223, 1232–33 (9th Cir. 2013) (“[W]e can only consider the

circumstances of which [the officers] were aware when they employed . . . force.

Accordingly, when analyzing the objective reasonableness of the officers’ conduct under

Graham, we cannot consider the fact that [the decedent] was intoxicated or that he had

previously used a knife in harming himself.”); see also Glenn v. Wash. Cnty., 673 F.3d 864,

873 n.8 (9th Cir. 2011) (“We cannot consider evidence of which the officers were

unaware—the prohibition against evaluating officers’ actions ‘with the 20/20 vision of

hindsight’ cuts both ways.” (quoting Graham, 490 U.S. at 396)).

       It follows from this well-established application of the rule of relevance that the

Defendant may not present evidence of facts regarding the events well after B.H.’s arrest

that were unknown to him at the time he punched B.H., including B.H.’s recent conviction

for aggravated battery.

       Even assuming any specific uses of such evidence might satisfy Fed. R. Evid. 401’s

definition of relevance, the government respectfully requests that this Court exercise its

discretionary power to exclude such evidence pursuant to its authority under Fed. R. Evid.

403. Rule 403 gives a trial judge the authority to exclude evidence if its probative value is



GOVERNMENT’S MOTION TO EXCLUDE VICTIM’S CRIMINAL HISTORY—3
         Case 1:22-cr-00056-SWS Document 38 Filed 08/19/22 Page 4 of 5




greatly outweighed by danger of unfair prejudice. Unfair prejudice under the Rule means an

“‘undue tendency to suggest decision on an improper basis, commonly, though not

necessarily, an emotional one.’” United States v. Haischer, 780 F.3d 1277, 1281 (9th Cir.

2015) (quoting United States v. Anderson, 741 F.3d 938, 950 (9th Cir. 2013)). Allowing the

jury to hear evidence that B.H. was accused of acts of domestic violence five years after the

charged offense could serve only the improper purpose of appealing to the emotions of the

jury in an attempt to make the jury dislike the victim and acquit for that reason.

Accordingly, the government respectfully requests that this Court prohibit the introduction

of such evidence.

                                       CONCLUSION

       Based on the above, the Government respectfully requests that the Court grant the

requested motion.

                             Respectfully submitted this 19th day of August, 2022.

                                                JOSHUA D. HURWIT
                                                UNITED STATES ATTORNEY
                                                By:

                                                /s/ Katherine L. Horwitz
                                                KATHERINE L. HORWITZ
                                                Assistant United States Attorney

                                                /s/ Francis J. Zebari
                                                FRANCIS J. ZEBARI
                                                Assistant United States Attorney




GOVERNMENT’S MOTION TO EXCLUDE VICTIM’S CRIMINAL HISTORY—4
         Case 1:22-cr-00056-SWS Document 38 Filed 08/19/22 Page 5 of 5




                             CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on August 19, 2022, the foregoing GOVERNMENT’S

MOTION TO EXCLUDE EVIDENCE RELATED TO THE VICTIM’S CRIMINAL

HISTORY was electronically filed with the Clerk of the Court using the CM/ECF system,

and that a copy was served on the following parties or counsel by ECF filing: Charles

Peterson, 671 E. Riverpark Lane, Suite 210, Boise ID 83706.


                                              /s/ Katherine L. Horwitz
                                              KATHERINE L. HORWITZ
                                              Assistant United States Attorney




GOVERNMENT’S MOTION TO EXCLUDE VICTIM’S CRIMINAL HISTORY—5
